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                 UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                     FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                               No. 4:25-cv-0174-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                    ORDER
        Before the Court is Novo Nordisk Inc.’s Unopposed Motion to
     Intervene. ECF No. 12. As the posture of the case currently stands, the
     named Defendants have yet to appear. Consequently, this Motion is
     premature and is DENIED without prejudice.

          Additionally, it is worth pointing out that the judges of the Fort
     Worth Division notoriously require strict compliance with the Local
     Rules’ local counsel requirement. N.D. Tex. L.R. 83.10(a). Oftentimes,
     even Dallas based counsel get into trouble in this division because they
     are unfamiliar with the judges, their requirements, and the pace in Fort
     Worth. See Six Flags Ent. Corp. v. Travelers Cas. & Sur. Co. of Am., No.
     4:21-cv-00670-P, 2021 WL 2064903, at *2 (N.D. Tex. May 21, 2021); see
     also Greathouse v. Cap. Plus Fin., LLC, No. 4:22-CV-00686-P, 2024 WL
     535218, at *1 n.2 (N.D. Tex. Feb. 6, 2024).

        It appears that Novo Nordisk has retained as their local counsel an
     attorney based out of Plano—which is not in the Northern District of
     Texas. However, their pro-hac-vice applications indicate that Mr.
     Carolan lives in Dallas. It is perfectly acceptable to be represented by
     counsel from D.C. or Dallas in the Fort Worth Division, but Fort Worth
     is not a suburb of Dallas, and they are two vastly different cities and
     judicial divisions with different judges, juries, cultures, and histories.
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     Cf. BRIAN A. CERVANTEZ, AMON CARTER: A LONE STAR LIFE 10 (2019)
     (providing that legend had it that Amon Carter’s “hatred of Dallas was
     so entrenched that he always took a sack lunch to that city if he ever
     had to conduct business there so he could avoid enriching his arch
     nemesis”). Nevertheless, Novo Nordisk may refile their Motion once
     Defendants have appeared in this case.

        SO ORDERED on this 4th day of March 2025.




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